United States v. Denka Performance Elastomer, LLC et al. (2:23-cv-735)


     United States’ Motion to Reopen Case and Set Status Hearing




                           Exhibit B
                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF LOUISIANA

 UNITED STATES OF AMERICA,
                                                      Civ. No. 2:23-cv-735
         Plaintiff,

         v.
                                                      Judge Barbier (Section “J” (5))
 DENKA PERFORMANCE ELASTOMER,
 LLC, et al.,
                                                      Magistrate Judge North
         Defendants.


          DECLARATION OF STEPHEN D’ALESSIO IN SUPPORT OF
    UNITED STATES’ MOTION TO REOPEN CASE AND SET STATUS HEARING

        Pursuant to 28 U.S.C. § 1746, I, Stephen D’Alessio, declare as follows:

        1.       If called to do so, I could competently testify to the following based on my

personal knowledge and documents I have reviewed from the official files of the United States

Department of Justice.

        2.       I am currently a paralegal employed in the United States Department of Justice

(“DOJ”), Environmental Enforcement Section. I am assigned to this case and regularly perform

duties with respect to it. One of my roles is to help manage the documents and the database we

use to track the collection of documents from EPA custodians and the documents that the United

States has produced to the defendants in this litigation.

        3.       We store the documents collected from EPA custodians in a Relativity database

which has been established for this litigation. This database allows me to identify the EPA

custodians from whom the United States has collected information. The database also allows me

to identify when information, including individual documents, were produced to the defendants

in this litigation.




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       4.         Based on my review of this Relativity database, I have determined that the United

States produced approximately 29,000 documents comprising well over half a million pages.

These documents were collected from approximately lI2 different individuals and the non-

custodial files of at least six different EPA offices.

        5.        Exact numbers of documents and pages are not provided because there could be

reasonable disagreements about how to count documents and pages that were produced twice

because of problems with the original production or that were clawed back because of privileged

information and sometimes replaced with redacted images.

        6.        The approximate dates and numbers of documents produced by the United States

are as follows:

                                         Number of                Cumulative
                          Date
                                     documents produced        document prqdueed
                          4/4/2023                        l5                    15
                         411212023                       124                   t39
                          slU2023                        194                   JJJ
                         sl17/2023                       501                   834
                         611312023                  4,061                   4,895
                         611312023                       873                5,768
                         6/2212023                  6.s94                  12.362
                         6/3012023                  8.628                  20.990
                          717/2023                  3"238                  24.228
                         7lt3/2023                   1,445                 25,673
                         712712023                        46               25,719
                         8t2412023                        65               25,784
                         tt/912023                        32               25.816
                         111912023                       464               26.280
                        1t/20t2023                        65               26,345
                         1216t2023                       t34               26.479
                        12/r512023                  2.517                  28.996
                        121r7/2023                         2               28.998
                        1212212023                        l0               29,008
                        t2/2812023                        l8               29,026
                         3/2012024                         4               29,030




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      I declare under penalty of perjury that the foregoing is true and correct.



Executed on:
               7/t7 /dq

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                                                 Stephen D'Alessio




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